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                       Case 1:20-cr-00661-CM Document 35 Filed 04129122 Page 1 of 1



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April 29, 2022
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BY ECF TO:
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Judge Colleen McMahon                                                          {'lo -\--<. ~
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Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
                                                                                      4   "'"""-k-c(_
New York, NY 10007

                                 RE :     United States v. Amir Bruno Elmaani
                                                                                            ~Ht,_/p~
                                          Case No. : 1:20-cr-00661-1 (CM)
                                          Southern District of New York

Dear Judge McMahon:

      Please be advised that Spodek Law Group P.C. represents Amir Bruno
 Elmaani, the Defendant in the above-referenced matter.

       As per Your Honor's April 13, 2022 order, defense motions are due today, April
 29, 2022. Unfortunately, my office had a COVID outbreak this week. I am respectfully
 requesting that the motion schedule be adjourned for two weeks.

             I conferenced my request with AUSA Margaret Graham and she has no
objection.

             Thank you for your consideration .

                                                           Sincerely,

                                                    Spodek Law Group P.C.
                                                      ISi Todd A. Spodek                    I L' SDC SDNY
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